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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA           :       Hon. Joseph H. Rodriguez
                                   :
      v.                           :
                                   :
JOHN GRIER, III                    :       Criminal No. 21-524 (JHR)
                                   :

______________________________________________________________________________
 GOVERNMENT’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTIONS
          IN LIMINE AND MOTION FOR RECIPROCAL DISCOVERY
______________________________________________________________________________



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                         PRELIMINARY STATEMENT

      The Government submits this Memorandum of Law in support of its

Motions In Limine and Motion for Reciprocal Discovery.            The Government

respectfully reserves its right to supplement its responses by way of oral

argument.

                            STATEMENT OF FACTS

 A.   The Offense Conduct

      On June 18, 2017, at approximately 5:30 a.m., Bridgeton Police

Department (“BPD”) Officers were dispatched to the Riggins Gas Station at West

Broad Street and Fayette Street in Bridgeton. The report indicated that there

were two males sitting at the gas station yelling at passersby.

      When Officer Donald Young (listed in the Indictment as BPD Officer #1)

arrived, he found Marty Drummond (“Drummond”) in the driver seat of a blue

Buick and Alan Campbell sitting in the passenger seat. Both men appeared to

be impaired.   Officer Young also observed an open bottle of Johnny Walker

whisky. However, the hood of the car was cold and the keys were not in the

ignition.   Therefore, Officer Young did not have probable cause to arrest

Drummond for driving while intoxicated (“DWI”).

      In response to the radio call, the defendant, Officer John Grier, III, (“the

Defendant”) arrived as a back-up officer. The Defendant approached the car to

watch the car’s occupants as Officer Young returned to his vehicle to prepare

summonses for Drummond and Campbell. As the Defendant was standing near

the driver’s side door, Drummond opened the door and attempted to get out.


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Grier ordered him back into the car and told him to “stay in the vehicle or I am

going to spray you.” Up to this point, Drummond was not hostile or aggressive

to the Defendant. From his body worn camera (“BWC”), The Defendant can be

seen holding a small can of mace in his hand. Drummond remained in the

vehicle, berated Officer Grier, cursing at him, threatening him and using racial

slurs directed at the people in Bridgeton. Eventually, the Defendant went and

stood outside Officer Young’s police SUV while he completed the summonses.

       The Defendant radioed for Officer Ronald Broomall (listed in the

Indictment as BPD Officer #2) to come to the gas station for additional police

presence. When Officer Broomall arrived, the Defendant told him that

Drummond and Campbell were very argumentative and borderline sovereign

citizens. Officer Broomall saw the OC spray in the Defendant’s hand and asked

the Defendant “if you want me to get the big one,” (a reference to the large can

of OC spray that the Department issues for crowd control).

       Eventually, Officer Young issued Drummond and Campbell with

summonses. He also told them to get someone who was sober to come pick them

up. Officer Young further warned them that if they drove, then they would be

arrested for DWI.

       The initial interaction lasted approximately 20 minutes. The Defendant

and Officer Young then drove away from the gas station. Within minutes, Officer

Broomall radioed for assistance at the gas station because Drummond and

Campbell had gotten out of the car and approached him before he could drive

off.

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       As the Defendant drove back to the gas station, he had the large can of OC

spray in his hand. Upon arrival, Drummond was yelling non-sequiturs at the

officers.   At one point, Drummond asked for a sergeant and the Defendant

requested that a supervisor come to their location. After about 2 minutes, the

Defendant ordered Drummond to get back into his vehicle and warned him that

if he approached the officers again he would be arrested.

       Drummond and Campbell returned to their car.           As the officers were

watching, Drummond started the car and drove slowly to the side of the gas

station. At that point the police officers had probable cause to arrest Drummond

for DWI.

       The officers followed the car.    Once it parked, they moved to arrest

Drummond. Officers Young and Broomall approached Drummond as he got out

of the driver’s side of the car. The Defendant got out of his car with the large can

of OC spray in his hand. The Defendant told Officer Broomall to “step back.”

Officer Broomall had nearly finished handcuffing Drummond and Drummond

was not resisting his efforts. While holding the OC spray at arm’s length, the

Defendant asked Drummond “do you want to feel pain, sir?” Officers Broomall

and Young were able to handcuff Drummond behind his back without incident.

When Officer Broomall put Drummond over the hood of his patrol vehicle to

search him, Drummond said “ow.” The Defendant responded “good.”

       After officers searched Drummond and double locked his handcuffs,

Officer Broomall told Drummond that he was under arrest and escorted him to




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the back of his patrol SUV. Drummond repeatedly asked why he was under

arrest.

      As Officer Broomall opened the rear door to the patrol SUV, Drummond

stood outside the rear seat and asked, “what am I under arrest for?” Officer

Broomall responded, “You were told, now get in the car.” At that point, the

Defendant reached past Officer Broomall with the large can of OC spray and

sprayed Drummond in the face while yelling “get in the fucking car.” (Spray also

hit Officer Broomall on the side of the head).      As a result of being sprayed,

Drummond doubled over with his head inside the SUV. Officer Broomall helped

Drummond up and sat him on the edge of the rear seat. The Defendant then

sprayed Drummond for a second time. After the second burst of OC spray to the

face, the Defendant asked Drummond “there, how do you like it now? Now get

in the God damn car.” This series of events can be seen and heard on the officers’

BWC footage.

      Drummond was trying to clear the spray from his mouth and nose, and

therefore not moving quickly. The Defendant pushed him into the car saying

“get in the fucking car.” The Defendant then told him to pull his legs into the

car or “I’m give it to you again.” At this time, Officer Broomall intervened and

said, “John back off.” Drummond eventually pulled his legs into the SUV and

Officer Broomall drove him to the police station.

      The Defendant wrote a Supplementary Investigation Report to explain the

use of the OC spray and stated in part:

      Once at the patrol vehicle, Marty [Drummond] was instructed to enter
      inside. Marty [Drummond] refused and continued to forcefully remain
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      outside of the vehicle. At this time, I deployed the can of department issued
      OC spray and sprayed Marty [Drummond] with a short burst. Noticing the
      spray did not strike Marty [Drummond] in the face and that it did not take
      immediate effect, I sprayed Marty [Drummond] a second time. This took
      immediate effect and Marty [Drummond] began getting into the rear of the
      vehicle. Ptl. Broomall aided Marty [Drummond] from the other side of the
      vehicle and aided with Marty [Drummond]’s legs. Ptl. Broomall began
      transporting Marty [Drummond] to the police station . . .

(Emphasis added.)

      The Defendant did not mention having shoved Drummond into the back

of the police SUV in the above Supplementary Investigation Report or in his Use

of Force Report. Nor did he note the fact that the first spray of mace immediately

affected Drummond.

      The BWC footage does not show Drummond hitting or kicking the officers,

or initiating physical contact with them in any way.

      Drummond was charged with resisting arrest/eluding (N.J.S.A. 2C:29-

2A(1)). He eventually pleaded guilty in municipal court and was fined.

      On August 31, 2017, BPD found that the Defendant used excessive force

during Drummond’s arrest and suspended him for 3 days. He also had to attend

remedial Use of Force training.

      B.     Procedural History

      On June 30, 2021, a federal grand jury sitting in Camden returned a two-

count Indictment (“the Indictment”), Crim. No. 21-524 (JHR), against the

Defendant, charging him with deprivation of rights under color of law, in

violation of 18 U.S.C. ' 242, and falsification of records in a federal investigation,

in violation of 18 U.S.C. ' 1519. On July 8, 2021, the Defendant surrendered to

federal authorities and was arraigned before U.S. Magistrate Judge Ann Marie
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Donio. During the arraignment, the Defendant entered a plea of not guilty. The

Defendant was later released on $50,000 bond.          Pursuant to the current

Scheduling Order, trial in this matter is set to commence on October 17, 2022.

Docket Entry (“DE”) 20.

                                  ARGUMENT

 I.   THE COURT SHOULD EXCLUDE IMPROPER CHARACTER EVIDENCE.

      The Government respectfully requests that the Court enter an order

excluding improper character evidence that is unrelated to the charges alleged

in the Indictment in this case. Specifically, the Government anticipates that the

Defendant may present evidence or elicit testimony of prior instances of “good

conduct” or “good works” related to his position as a police officer with the BPD,

including matters such as positive evaluations, awards, commendations, or

other community service and accolades he received during the course of his

employment with the BPD.       Further, the Government also believes that the

Defendant may seek to introduce evidence of positive character traits affiliated

with his role in law enforcement, such as bravery, dedication, assertiveness, and

selflessness. The Government also anticipates that the Defendant may seek to

present evidence or elicit testimony about his experience in investigating crimes

in Bridgeton and resulting arrests in the community.

      For the reasons set forth below, the Court should exclude such evidence

at trial as inadmissible under the Federal Rules of Evidence. Moreover, to the

extent certain testimony through character witnesses is permitted at trial, the




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Government requests that the Court enter an order limiting its use to the

appropriate form required by the evidentiary rules.

        A.    Evidence of the Defendant’s Good Character or Reputation is
              Inadmissible Under Federal Rules of Evidence 404 and 405.

        Federal Rule of Evidence 404 generally prohibits the introduction of

evidence of a person’s character to prove that a person acted in conformity with

that character trait on a particular occasion.          The rule provides a narrow

exception for the admission of character evidence related to the accused, but

only when the evidence relates to a “pertinent,” or relevant, character trait. See

Fed. R. Evid. 404(a)(1). 1

        Assuming the criteria of Rule 404 has been met, under Rule 405, 2 evidence

of a pertinent character trait generally cannot address specific instances of

conduct, but rather must be in the form of testimony as to reputation or in the


1   Rule 404 provides, in pertinent part, as follows:

“(a) Character Evidence. (1) Prohibited Uses. Evidence of a person’s character or
character trait is not admissible to prove that on a particular occasion the person
acted in accordance with the character or trait. (2) Exceptions for a Defendant
or Victim in a Criminal Case. The following exceptions apply in a criminal case:
(A) a defendant may offer evidence of the defendant’s pertinent trait, and if the
evidence is admitted, the prosecutor may offer evidence to rebut it[.]”

2   Rule 405 provides, in pertinent part, as follows:

“(a) By Reputation or Opinion. When evidence of a person’s character or
character trait is admissible, it may be proved by testimony about the person’s
reputation or by testimony in the form of an opinion. On cross-examination of
the character witness, the court may allow an inquiry into relevant specific
instances of the person’s conduct. (b) By Specific Instances of Conduct. When a
person’s character or character trait is an essential element of a charge, claim,
or defense, the character or trait may also be proved by relevant specific
instances of the person’s conduct.”


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form of an opinion. 3 See Fed. R. Evid. 405(a). However, “[i]n cases in which

character or a trait of character of a person is an essential element of a charge,

claim, or defense, proof may also be made of specific instances of that person’s

conduct.” Fed. R. Evid. 405(b).

      United States v. Washington, 106 F.3d 983 (D.C. Cir. 1997) is instructive

on this point. In Washington, the defendant was an officer with the Washington,

D.C. Metropolitan Police Department who was charged with bribery, firearm, and

narcotics trafficking offenses that took place in connection with his position as

a police officer. Id. at 992. The defendant sought to introduce evidence of several

commendations he received for his work while on the police force. Id. at 999.

The appellate court upheld the district court’s ruling excluding the evidence

under Rules 404(a)(1) and 405, finding that: “the commendations were not

admissible under either Rule because appellant’s ‘dedication, aggressiveness

and assertiveness’ in investigating drug dealing and carjacking is neither

‘pertinent’ to nor an ‘essential element’ of his supposed lack of predisposition to

engage in the corrupt criminal activity with which he was charged.” Id.

      Similarly, United States v. Nazzaro, 889 F.2d 1158 (1st Cir. 1990) also

rejected a defendant police officer’s request to admit certain character evidence

related to positive attributes and good works he undertook as a police officer. In



3 As noted in the Advisory Committee Notes to Rule 405: “evidence of specific

instances of conduct is the most convincing. At the same time it possesses the
greatest capacity to arouse prejudice, to confuse, to surprise, and to consume
time. Consequently the rule confines the use of evidence of this kind to cases in
which character is, in the strict sense, in issue and hence deserving of a
searching inquiry.” Fed. R. Evid. 405, Adv. Cmt. Notes.
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Nazzaro, the defendant was charged with mail fraud and perjury related to his

role in a scheme to obtain advanced copies of civil service examinations and their

subsequent sale. Id. at 1160. At trial, the defendant attempted to offer into

evidence his resume and other anecdotal proof of commendations he received for

his military service and as a police officer, as well as a medal bestowed upon him

for special valor. Id. at 1168. The appellate court affirmed the ruling excluding

such evidence, noting that “the traits which [the materials] purport to show—

bravery, attention to duty, perhaps community spirit—were hardly ‘pertinent’ to

the crimes of which Nazzaro stood accused.” Id.

      Moreover, trial courts in the Third Circuit have arrived at similar rulings.

In United States v. Fumo, 504 F.Supp.2d, 6 (E.D. Pa. 2007), former Pennsylvania

state senator Vincent Fumo was charged with fraud, obstruction of justice, and

criminal conspiracy related to his misuse of state funds for his personal benefit.

The Government’s pretrial motion to exclude the introduction of the senator’s

legislative, policymaking, and constituent servicing accomplishments as

impermissible character evidence under Federal Rules of Evidence 404 and 405

was granted. (See Docket Nos. 253, 294); see also Boyer v. City of Philadelphia,

2019 WL 920200 at *9 (E.D. Pa., Feb. 25, 2019) (finding that “testimony that

plaintiff had previously handled evidence appropriately or had a reputation for

doing so is not admissible to show that plaintiff handled evidence appropriately

during the arrest which led to his termination.”).

      Here, just as in Washington, Nazzaro, Fumo, and Boyer, any character

evidence offered to prove the generally “good” character of the Defendant—such

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as his alleged bravery, effectiveness, attention to duty, commitment to public

service, kindness, professionalism, dedication, etc.—is not admissible under

Rules 404(a) and 405 because it is not pertinent to the civil rights and

obstruction charges at issue.      Moreover, evidence or testimony about the

Defendant’s prior good works or community service are likewise inadmissible

under the evidentiary rules and aforementioned precedent.

      Similarly, any evidence that may be proffered by the Defendant at trial as

to his prior arrest record and role in successfully investigating crime with the

BPD is also inadmissible because it does not relate to the charges contained in

the Indictment. Indeed, whether the Defendant previously conducted arrests

without incident is not pertinent to any element of the civil rights and obstruction

crimes with which he is presently charged. Such evidence would only serve to

influence the jury on an improper basis. 4 Accordingly, the Court should deny

any request from the Defendant to introduce such evidence at trial. 5


4 This Court should also exclude any argument that the jury should acquit the
Defendant based upon sympathy or the Defendant’s good character. Such
argument is tantamount to jury nullification. See e.g., United States v. DeMuro,
677 F.3d 550, 565-66 (3d Cir. 2012) (lower court did not abuse its discretion in
excluding evidence of civil remedies in tax case because such evidence “opened
the door to jury nullification”).

5   Moreover, in addition to Rules 404(a)(1) and 405, any such character evidence
would likewise be inadmissible under Rules 401 and 403 of the Federal Rules of
Evidence as irrelevant and unduly prejudicial to the Government. See United
States v. Warner, 396 F. Supp. 2d 924, 941 (N.D. Ill. 2005) (rejecting former
Illinois governor’s claim that his “personal integrity and dedication to promoting
the common good through public service” constitutes a character trait
admissible under Rule 401(a)(1)), aff’d, 498 F.3d 666 (7th Cir. 2007). Here, any
evidence as to the Defendant’s good character has nothing to do with whether
he violated the Victim’s civil rights or whether he submitted a false police report.
This evidence would also be unduly prejudicial to the Government and could
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      B.     If Certain Character Evidence is Permitted at Trial, It Must be
             Limited in Form to Testimony as to the Witness’s Opinion of
             the Defendant or the Defendant’s Reputation.

      The Rules of Evidence allow a defendant to offer evidence of his good

character to show, by inference, that the act with which he is charged is

inconsistent with his overall character. See Fed. R. Evid. 404(a)(1); 1A J.

Wigmore, Evidence, § 56, at 1161 (Tillers rev. 1983).         However, even when

character evidence may be admissible and potentially probative, the federal

evidentiary rules still limit its use at trial. As noted above, assuming the criteria

of Rule 404 has been met, under Rule 405, evidence of a pertinent character trait

cannot address specific instances of conduct, but rather must be in the form of

testimony as to reputation or opinion on direct examination. See Fed. R. Evid.

405(a); Michelson v. United States, 335 U.S. 469, 477 (1948).             On cross-

examination, however, the Court may allow inquiry into relevant specific

instances of the accused’s conduct. See Fed. R. Evid. 405(a).

      Here, to the extent the Court permits the Defendant to call certain

witnesses to testify that the acts with which he is charged are inconsistent with

his overall character, 6 any such questions on direct examination must be in the


confuse or mislead the jury, as its admission at trial could have a tendency to
suggest that the jury make a decision on an improper basis. See Fed. R. Evid.
403, Adv. Comm. Notes (“’Unfair prejudice’ within its context means an undue
tendency to suggest decision on an improper basis, commonly, though not
necessarily, an emotional one.”).

6  The Court has broad discretion to limit the number of character witnesses
allowed by the Defendant. See United States v. Sullivan, 803 F.2d 87, 90 (3d
Cir. 1986) (district court did not abuse its discretion in excluding defendants’
judicial character witnesses on grounds that testimony was cumulative); United
States v. Johnson, 730 F.2d 683, 688 (11th Cir. 1984) (affirming district court’s
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form of reputation or opinion testimony and cannot inquire into specific

instances of the Defendant’s conduct and character under Rule 405(a).         See

Michelson, 335 U.S. at 477 (“The witness may not testify about defendant’s

specific acts or courses of conduct or his possession of a particular disposition

or of benign mental and moral traits[.]”). For example, a witness could testify

that he is familiar with the Defendant’s reputation and that the Defendant has

a reputation for being an honest person. The witness cannot, however, refer to

any specific instances of good conduct or honesty engaged in by the Defendant.

See id. (“The witness is [ ] allowed to summarize what he has heard in the

community . . . [t]he evidence which the law permits is not as to the personality

of the defendant but only as to the shadow his daily life has cast in his

neighborhood.”).

      Moreover, to the extent the Defendant calls any character witnesses to

testify on his behalf, the Government would then be permitted to inquire into

certain relevant specific instances of the Defendant’s conduct on cross-



decision to limit number of character witnesses to three). Indeed, limiting the
number of defense character witnesses is a common practice that is within the
court’s discretion. United States v. Gray, 105 F.3d 956, 963 (5th Cir. 1997)
(affirming district court’s decision to limit defendant to two character witnesses
and noting that “[t]his court has repeatedly allowed a maximum of three
character witnesses”); United States v. Benefield, 889 F.2d 1061, 1065 (11th Cir.
1989) (affirming decision to reduce the defendant’s character witnesses from ten
to five); United States v. Koessel, 706 F.2d 271, 275 (8th Cir. 1983) (affirming
district court’s limitation of three character witnesses). Here, the Government is
not requesting that the Court limit the Defendant to calling a specific number of
character witnesses. Rather, at the appropriate time, the Government requests
that the Court ask the Defendant to make a proffer to these witnesses’ testimony,
and to limit the number of character witnesses based on that proffer.


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examination. 7 See Fed. R. Evid. 405(a) (“On cross-examination of the character

witness, the court may allow an inquiry into relevant specific instances of the

person’s conduct.”). This is because “[t]he price a defendant must pay for

attempting to prove his good name is to throw open the entire subject which the

law has kept closed for his benefit and to make himself vulnerable where the law

otherwise shields him . . . . Thus, while the law gives [the] defendant the option

to show as a fact that his reputation reflects a life and habit incompatible with

commission of the offense charged, it subjects his proof to tests of credibility

designed to prevent him from profiting by a mere parade of partisans.”

Michelson, 335 U.S. at 477. Accordingly, should the Defendant open the door

to his character by calling character witnesses, the Government should be

permitted on cross-examination to inquire about specific instances of his

conduct to test the witnesses’ knowledge and credibility.

II.   LAY WITNESSES SHOULD BE PERMITTED TO TESTIFY ABOUT THE
      DIRECT OBSERVATIONS AND PERCEPTIONS OF THE DEFENDANT’S
      INTERACTIONS WITH DRUMMOND.

      The Government respectfully moves this Court for an order allowing the

other BPD officers, who participated in the arrest of the Victim, to offer opinions




7   If the Court were to allow the Defendant to present the above-specified good
character evidence, there are certain specific instances of conduct about which
the Government would seek to inquire. See United States v. Logan, 717 F.2d 84,
87-88 (3d Cir. 1983) (“by introducing evidence of his good character, the
defendant ‘throw[s] open the entire subject] of his character and, consequently,
allows the prosecutor to…cross-examine the defendant’s character witnesses
and to probe the extent and source of their opinions.”). The Government is not
enumerating these herein to avoid any unnecessary public airing of these facts.


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about the Defendant’s use of force and any resulting medical injuries sustained

by the victim.

      Rule 701 of the Federal Rules of Evidence permits lay witnesses to give

opinion testimony that is “(a) rationally based on the witness’s perception; (b)

helpful to clearly understanding the witness’s testimony or to determining a fact

in issue; and (c) not based on scientific, technical, or other specialized knowledge

within the scope of Rule 702.” Fed. R. Evid. 701.

      It is proper for a lay witness to explain to the jury his “analysis of facts

which would tend to support a jury finding on the ultimate issue.” United States

v. Keys, 747 F. App’x 198, 207 (5th Cir. 2018) (unpublished) (internal quotations

omitted) (quoting United States v. Buchanan, 70 F.3d 818, 833 n.20 (5th Cir.

1995)).

      Similarly, it is proper for officer-witnesses to testify to “opinion[s] regarding

specific factual building blocks” that can support a jury finding that the

Defendant did not act reasonably. Id. at 209-11 (citing United States v. Speer,

30 F.3d 605, 610 (5th Cir. 1994)). “Federal Rule of Evidence (FRE) 701 allows

non-expert testimony in the form of an opinion or inference if that testimony is

(1) rationally based on his perception, (2) helpful to achieving a clear

understanding of the testimony or the determination of a fact issue, and (3) not

based on scientific, technical, or other specialized knowledge.” United States v.

Espino-Rangel, 500 F.3d 398, 400 (5th Cir. 2007).

      A law-enforcement witness to a crime may testify about his opinion of the

defendant’s conduct—even when it “embraces an ultimate fact issue to be

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determined by the factfinder.” Espino-Rangel, 500 F.3d at 400; see also United

States v. Churchwell, 807 F.3d 107, 119 (5th Cir. 2015) (lay opinion testimony

as to defendant’s honesty was admissible, even though closely related to the

ultimate issue, because witness “was in a unique position to observe

[defendant’s] demeanor”); Keys, 747 F. App’x at 210-11 (affirming trial court’s

admission of law-enforcement witness’s opinion that defendant in a sex-

trafficking of a minor trial had the opportunity to observe the girls—and thereby

should have known they were minors—because the testimony was an “opinion

of fact”); United States v. Umbach, 708 Fed. Appx. 533, 545 (11th Cir. 2017)

(describing the court’s consistent holding that a law-enforcement witness could

answer question of whether they saw anything that “justified [the defendant’s]

use of force” because the answer was relevant to the determination of a fact in

issue, was based upon the witness’s personal perception, and was based upon

the witness’s experience on the police force).

      The witnesses at issue here are not experts, but are fact witnesses who

were on scene and were actively participating in Drummond’s arrest when the

Defendant pepper-sprayed him. These witnesses’ status as fact witnesses, rather

than experts, is significant and renders their opinions and assessments more

helpful to the jury in determining whether the Defendant committed a crime on

the day in question. See Espino-Rangel, 500 F.3d at 400 (FRE 704’s ban on

expert opinions as to defendant’s mental state not applicable to fact witnesses);

United States v. Perkins, 470 F.3d 150, 157-60 (4th Cir. 2006) (concluding that




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witness’s on-scene assessments and opinions are helpful and may be presented

to the jury).

      The District Court in United States v. Cowden addressed the issue of

whether officers who observed a defendant police officer’s unlawful use of

excessive force could give lay opinion regarding his conduct. See United States

v. Cowden, 2016 WL 5794763, at *5 (N.D. W. Va. Oct. 4, 2016). In that case, the

officer-defendant sought to preclude lay witnesses, including other officers at the

scene, from offering opinions about the officer’s use of force and any resulting

medical injuries sustained by the victim. Id. The court denied the defendant-

officer’s motion, finding that the witnesses’ opinion testimony was not precluded

by Rule 701 and did not fall within the specialized knowledge requirements

triggering Rule 702.      Id. Accordingly, the Cowden Court permitted the

government to offer testimony from the other officers as to what they “observed

or perceived as to both the defendant’s use of force and the arrestee’s injuries.”

Id.

      This Court should adopt the same approach as Espino-Rangel and

Cowden. The Government plans to call witnesses present at the scene of the

assault, which will include other officers who observed the incident. Just as in

Espino-Rangel, Umbach, and Cowden, these witnesses should be permitted to

testify about what they observed and perceived about the Defendant’s use of

force, the Victim’s injuries, and whether any alternate techniques of restraining

the Victim could have been used. This testimony is not expert testimony, but

rather is merely opinion based upon the witnesses’ direct observations and

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perceptions. See Fed. R. Evid. 701(a) (“[T]estimony in the form of an opinion is

limited to one that is rationally based on the witness’s perception[.]”). The

testimony will also help the jury to “clearly understand[]” and “determin[e] a fact

issue”—i.e., whether the Defendant’s use of force was excessive and deprived the

Victim of his civil rights.

III.   DESIGNATION OF WITNESSES AS HOSTILE

       The Government may request the Court to declare certain prosecution

witnesses as “hostile” to the Government and permit examination of those

witnesses accordingly. Specifically, the Government intends to call in its case-

in-chief several of the BPD officers who participated in Drummond’s arrest.

Those persons are eyewitnesses to the most crucial events in this case. Because

those officers served with the Defendant on the BPD, and some had worked

directly with him, they are likely to be sympathetic to him and hostile to the

prosecution, particularly with respect to his conduct on the day of the events at

issue here.

       Federal Rule of Evidence 611(c) regulates the use of leading questions. It

states:

              (c) Leading Questions. Leading questions should not be used on
       direct examination except as necessary to develop the witness’s testimony.
       Ordinarily, the court should allow leading questions:

              (1) on cross-examination; and

              (2) when a party calls a hostile witness, an adverse party, or a
                  witness identified with an adverse party.

Fed. R. Evid. 611(c).



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      “The prohibition against leading is inapplicable to hostile or biased

witnesses, or to witnesses who sympathize with the opponent’s cause or are

unwilling for any other reason to reveal what they know.” 4 Weinstein's Federal

Evidence, § 611.06 (2019). “The requisite degree of hostility, bias, or reluctance

of a witness must usually be demonstrated to the satisfaction of the court.” Id.

“However, Rule 611(c)(2) provides that certain categories of witnesses can

automatically be treated as hostile.” Id. “The language in Rule 611(c)—‘witness

identified with’ an adverse party—is intended to enlarge the class of persons who

can be regarded as hostile without further demonstration, though their

membership in the group will still have to be shown.” Id.

      “The normal sense of a person ‘identified with an adverse party’ has come

to mean, in general, an employee, agent, friend, or relative of an adverse party.”

Ratliff v. City of Chicago, 2013 WL 3388745, *6 (N.D. Ill. July 8, 2013) (quoting

Washington v. State of Illinois Depart. of Revenue, 2006 WL 2873437, *1 (C.D.Ill.

Oct.5, 2006) and Vanemmerik v. The Ground Round, Inc., 1998 WL 474106, *1

(E.D.Pa.1998)).

      Here, there can be little dispute that the police officers who were working

with the Defendant on June 18, 2017 are “identified with” the Defendant. They

served in the same police department with him, were working the same shift as

him on the day of the events at issue, and some knew him personally. In Ellis v.

City of Chicago, 667 F.2d 606 (7th Cir.1981), the Seventh Circuit held that a

Chicago police officer who witnessed the incident at issue “clearly qualified” as a

witness identified with an adverse party pursuant to Federal Rule of Evidence

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611(c). Id. at 613 (noting that “police officers [who] were employees of defendant

City of Chicago at all times during the litigation and were each present during

portions of the incident which gave rise to this lawsuit …. clearly qualified as

“witness(es) identified with an adverse party” for purposes of Rule 611(c)”).

       Notwithstanding that the police witnesses are in a group that is inherently

hostile to the prosecution in which a fellow officer is the defendant, the

Government is not seeking a declaration before trial that any of the police

witnesses are hostile. Rather, it will evaluate their hostility based on their

answers during direct examination. If any of those witnesses demonstrate

hostility in the view of the Government, it will seek a declaration of hostility at

that point and permission to question the witness with leading questions.

IV.    THE COURT SHOULD ALLOW REFERENCE AT TRIAL TO THE
       SUBSEQUENT DEATH OF THE VICTIM.

       On April 2, 2022, the Victim died. The Government seeks to introduce the

Victim’s death certificate, a copy of which is attached as Exhibit 1, 8 so that the

jury will not be inclined to speculate as to the reason why the Government has

not presented the Victim’s testimony. It is relevant, and therefore admissible, in

order to explain the absence at trial of this central figure. See Fed. R. Evi. 401,

402.




8 Because the death certificate contains personal information about the Victim

and his family, the Government will supply a copy of Exhibit 1 to chambers
and to opposing counsel via email, but will not file Exhibit 1 on the docket.
The Government will make available to the Court and opposing counsel the
original, unredacted certificate bearing a raised seal once it is received.
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      The Government has requested a certified copy of death certificate that will

bear the raised Great Seal of the State of New Jersey. The attached exhibit is a

Certificate of Death that was “issued for informational purposes only.”          The

Death Certificate was issued on May 11, 2022. The Official Sealed Document by

the New Jersey Department of Health, Office of Vital Statistics and Registry will

be a self-authenticating document under Fed. R. Evi. 902(1) (Domestic Public

Documents That Are Sealed and Signed) and/or 902(4) (Certified Copies of Public

Records). See, e.g., United States v. Jones, 2016 WL 10704381, at * 3 (E.D. La.

Feb. 17, 2016) (birth certificate produced to defense counsel in redacted form,

provided to the government by a governmental entity, and containing a seal of

the department of State and a signature purporting to be an execution or

attestation admissible as self-authenticating document under Fed. R. Evi.

902(1)); United States v. Hall, 2017 WL 6527150, at *4 (M.D. Pa. Dec. 21, 2017)

(citing Fed. R. Evid. 902(4) for the proposition that “the court can accept certified

copies of public records as self-authenticating”).

      The death certificate establishes that the Victim died on April 2, 2022,

from liver failure. References to the Victim’s subsequent death are necessary for

the jury to assess trial testimony without confusion, speculation, or undue

prejudice against the Government. Thus, the Government requests that any

reference to the Victim’s death be admitted under Federal Rule of Evidence 401

and Rule 403.

      Rule 401 provides the test for admissible evidence at trial, stating that only

relevant evidence—i.e., evidence that has any tendency to make a fact more or

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less probable than it would be without the evidence, or evidence that is of

consequence in determining the action—should be admissible. Fed. R. Evid. 401.

The rule does not require that the evidence prove an act in order to be admissible,

but rather only requires that, with the inclusion of the evidence, one is more

likely to conclude that the act occurred than without it. See United States v.

Aranda-Diaz, 31 F. Supp. 3d 1285, 1296 (D.N.M. 2014) (“[R]ule 401 provides a

low hurdle for finding evidence relevant.”)

      Relevant evidence may be excluded if “its probative value is substantially

outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence.” Fed. R. Evid. 403. The probative

value of the death certificate, as redacted, outweighs any possible undue

prejudice. It should therefore be admitted to prove that the Victim is recently

deceased, from a cause bearing no relation to the events alleged in the

Indictment, and thus cannot be called by either side to testify.

      “Evidence should be excluded under Rule 403 only sparingly since the

evidence excluded is concededly probative,” and the balance “should be struck

in favor of admissibility.” Spain v. Gallegos, 26 F.3d 439, 453 (3d Cir. 1994).

In determining the probative value of evidence under Rule 403, the court “must

consider not only the extent to which it tends to demonstrate the proposition

which it has been admitted to prove, but also the extent to which that

proposition was directly at issue in the case.” United States v. Herman, 589

F.2d 1191, 1198 (3d Cir. 1978). The absence of the Victim—and the failure of

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the Government to explain that absence— may be argued by the defense as a

way to raise reasonable doubt as to the defendant’s guilt.

      While the Victim’s death was unrelated to the Incident and occurred

years after the Incident, knowledge of the Victim’s death is relevant for the

jury’s consideration. The Victim’s personal experience is a key part of the

crimes alleged in the Incident. Without knowing that the Victim is dead and

therefore unable to testify, the jury will likely speculate about why the Victim

himself is not testifying. This speculation and confusion may cause the jury to

be biased against the Government by believing the Government’s case is less

credible without testimony directly from the Victim. See United States v.

Lawson, 494 F.3d 1046, 1053 (D.C. Cir., 2007) (finding that a “jury may infer

that a witness who ‘potentially has so much to offer that one would expect

[him] to take the stand’ but is not called would have given testimony harmful to

a party that had ‘special ability to produce him at trial’”).

      Therefore, the admission of any evidence related to the subsequent death

of the Victim is acceptable under Rules 401 and 403, and the Court should

enter an order allowing its admission and use at trial.

V.    THIS COURT SHOULD BAR ANY EXPERT OPINION TESTIMONY
      THAT GRIER’S CONDUCT DID NOT VIOLATE DRUMMOND’S CIVIL
      RIGHTS.

      The Government respectfully moves this Court to bar the testimony of the

Defendant’s expert. On April 18, 2022, the Defendant advised that he intended

to call Emmanuel Kapelsohn, Esquire as an expert in police use of force. On

April 19, 2022, defense counsel provided Mr. Kapelsohn’s curriculum vitae. To


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date, the Defendant has failed to comply with Rule 16 and provide an expert

report.9

      Federal Rule of Criminal Procedure 16(b)(1)(C) provides that the

“defendant must, at the government’s request, give to the government a written

summary of any [expert] testimony that the defendant intends to use,” and that

summary “must describe the witness’s opinions, the bases and reasons for those

opinions, and the witness’s qualifications.” Although the Rule does not include

a deadline for disclosure, the Court’s scheduling order in this case required the

defendant to provide discovery under Rule 16(b)(1) by June 30, 2022. DE 20 at

¶ 4. The Government also specifically requested expert disclosure in its discovery

letter dated August 10, 2021. Accordingly, the Court should bar the defense

from presenting Mr. Kapelsohn’s testimony for failing to comply with Rule 16.

VI.   THE COURT SHOULD PRECLUDE ANY REFERENCE TO POSSIBLE
      PUNISHMENT OR COLLATERAL CONSEQUENCES OF CONVICTION.

      The Government respectfully moves this Court for an order precluding the

Defense from referring―whether directly or indirectly―to issues concerning

possible punishment should the Defendant be convicted on any or all of the

counts in the Indictment. This preclusion should extend to discussion or

mention of possible collateral consequences, such as potential impact on the

Defendant’s livelihood or ability to possess firearms. This preclusion should




9 On August 19, 2022, almost two months after it was due and the day that

Motions in Limine were due, the defense provided a copy of an expert report.
Accordingly, the Government requests leave to supplement its Motions
regarding the province of the expert’s testimony.
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apply to all statements by counsel, evidence or exhibits presented in the jury’s

presence.

      In a federal criminal trial, the jury’s sole function is to determine guilt or

innocence. Evidence regarding punishment or the effects of conviction is thus

irrelevant and inadmissible before the jury. The punishment provided by law

upon conviction of a criminal violation is improper for a jury to consider when

resolving the guilt phase of a trial. See, e.g., Beavers v. Lockhart, 755 F.2d 657,

662 (8th Cir. 1985) (“Historically, the duty of imposing sentence has been vested

in trial judges.”); United States v. Brown, 744 F.2d 905, 909 (2d Cir.), cert.

denied, 431 U.S. 941 (1977) (defendant has no constitutional right to have

punishment assessed by a jury).

      Calling penal issues to the jury’s attention creates a substantial danger

that the jury will consciously or subconsciously allow knowledge of such

punishment to unduly impact their deliberations. “The jury’s function is to find

the facts and to decide whether, on those facts, the defendant is guilty of the

crime charged.”     Shannon v. United States, 512 U.S. 573, 579 (1994).

Information regarding the consequences of a verdict is irrelevant to the jury’s

task and should be inadmissible; Pope v. United States, 298 F.2d 507, 508 (5th

Cir. 1962); see also Rogers v. United States, 422 U.S. 35, 40 (1975); United States

v. Greer, 620 F.2d 1383, 1385 (10th Cir. 1980) (absent a statutory requirement

that the jury participate in the sentencing decision, nothing is left for the jury

determination beyond the guilt or innocence of the accused).




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       Evidence which relates to the issue of punishment upon conviction of a

criminal offense would not tend to prove or disprove any fact of consequence to

the jury’s determination of guilt or innocence, such evidence is not “relevant”

under Federal Rules of Evidence 401 and 402, and should therefore be excluded.

Thus, the Government requests that the Defense be precluded from referring to

either the penalty, possible sentence, sentencing range or possible collateral

consequences of conviction.

VII.   THE COURT SHOULD ALLOW ADMISSION OF PRIOR GRAND JURY
       TESTIMONY AS SUBSTANTIVE EVIDENCE AS NEEDED.

       The Government respectfully moves this Court to admit prior grand jury

testimony of witnesses who testified before the grand jury, in the case that these

witnesses answer elusively, claim memory loss or equivocate during their trial

testimony. This admission should extend to statements that are inconsistent,

partially different or incomplete. This admission should also extend to claims of

memory loss that this Court finds disingenuous.

       Rule 801(d)(1)(A) of the Federal Rules of Evidence allows sworn prior

inconsistent statements to be admitted as substantive evidence if the declarant

is available for cross-examination in the current proceeding. See Fed. R. Evid.

801(d)(1)(A). It is well established that inconsistent testimony can include poor

memory of events, equivocation, and claims of memory loss and need not be

diametrically opposed to the witness’ prior statement to be inconsistent. See

United States v. Mornan, 413 F.3D 372, 379 (3d Cir. 2005) (affirming trial court’s

admission of a witness’ prior statement where the trial court concluded witness’

memory loss was less than genuine, and joining the Fifth, Seventh and Eighth
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Circuits in so holding); United States v. Mayberry, 540 F.3d 506, 515 (6th Cir.

2008) (allowing grand jury testimony as substantive evidence in response to a

witness’ memory loss); United States v. Tran, 568 F.3d 1156, 1163 (9th Cir.

2009) (admitting portions of a witness’s inconsistent statements from an earlier

plea agreement into evidence when witness’s testimony at trial was “reluctant

and evasive”).

      While the Third Circuit has noted that a prior statement should not be

admitted if the witness has genuine memory loss at trial regarding the statement,

United States v. Palumbo, 639 F.2d 123, 128 n.6 (3d Cir. 1981), it has held that

a prior statement may be admitted under Rule 801(d)(1)(A) if the witness’s

memory loss is disingenuous. Mornan, 413 F.3d at 379. See also United States

v. Odom, 627 F.App’x 151, 153-54 (3d Cir. 2015) (not precedential) (a district

court’s decision to admit grand jury testimony as prior inconsistent statement

was not an abuse of discretion because the district court, acting within its

discretion, likely viewed the witness’s claims of memory loss as disingenuous);

United States v. Gerard, 507 F.App’x 218, 221-22 (3d Cir. 2012) (not

precedential) (admitting grand jury testimony as a prior inconsistent statement

under Rule 801(d)(1)(A) when a witness’s trial testimony was completely opposite

of her detailed, first-person statements during her appearance at the grand jury);

United States v. Iglesias, 535 F.3d 150, 159 (3d Cir. 2008) (considering testimony

inconsistent for purposes of Rule 801(d)(1)(A) when a witness shows “manifest

reluctance to testify” and “forgets” certain facts at trial); United States v. Bigham,

812 F.2d. 943, 946-47 (5th Cir. 1987) (admitting prior grand jury testimony in

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the event of an evasive and reluctant witness, and holding that the trial judge

reasonably could have concluded that the witness’ memory loss was

disingenuous); United States v. Williams, 737 F.2d 594, 608 (7th Cir. 1984) (for

an uncooperative witness, allowing lack of memory as inconsistent with detailed

grand jury testimony); United States v. Thompson, 708 F.2d 1294, 1302 (8th

Cir. 1983) (allowing the district court significant discretion in determining if

evasive answers are inconsistent with previously given statements). Accord

United States v. Owens, 484 U.S. 554, 565 (1988) (“It would seem strange… to

assert that a witness can avoid introduction of testimony from a prior

proceeding… by simply asserting lack of memory of the facts to which the prior

testimony related.”).

      The trial judge has broad discretion to determine if an evasive answer is

inconsistent with the statements made in a prior proceeding. This discretion

furthers the policy behind Rule 801(d)(1)(A), which is to “provide a party with

desirable protection against the turncoat witness who changes his story on the

stand and deprives the party of calling him of evidence essential to his case.”

Bigham, 812 F.2d at 946-47. See also United States v. Murphy, 696 F.2d 282,

284 (4th Cir. 1982). Therefore, partial or unclear recollection is considered

inconsistent with total or definite recollection. United States v. Distler, 671 F.2d

954, 958 (6th Cir. 1981); see also Williams, 737 F.2d at 608 (admitting grand

jury testimony where a witness claimed partial memory loss in his trial

testimony); United States v. Marchand, 564 F.2d 983, 999 (2nd Cir. 1977);

United States v. Rogers, 549 F.2d 490, 495-96 (8th Cir. 1976).

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        Furthermore, a complete answer to a question may be considered as

 inconsistent to a partial reply as a completely different reply. Argnellino v. New

 Jersey, 493 F.2d 714, 730 (3d Cir. 1974). If a prior statement indicates that, at

 an earlier time, the witness remembered the events about which he testified with

 more certainty or in more detail, then it is permissible under Rule 801(d)(1)(A) to

 admit the prior statement when the witness recalls the event incompletely or

 with some equivocation at trial. Distler, 671 F.2d at 958.

        The Government respectfully requests this Court to admit prior grand jury

 testimony as substantive evidence if this Court disbelieves a witness’ claims of

 memory loss, or if a witness fails to testify about details previously provided

 during a grand jury appearance, or does to in a way that is inconsistent with

 their grand jury testimony.

VIII.   THE JURY SHOULD             RECEIVE      THE     INDICTMENT        DURING
        DELIBERATIONS.

        The Court should provide the jury with a copy of the Indictment during its

 deliberations.   This Court has the discretion to allow the jury to receive the

 Indictment. See, e.g., United States v. Todaro, 448 F.2d 64, 66 (3d Cir. 1971);

 3d Cir. Model Criminal Jury Instruction 3.07, comment (“Trial Court Discretion

 to Allow Jury to Have Indictment During Deliberations”). The only question is

 whether the Court should allow it. The Government submits that the Court

 should allow the jury to have the Indictment during its deliberations. “Giving

 the jury a copy of the indictment appears to be common practice.” United States

 v. Roy, 473 F.3d 1232, 1237 n.2 (D.C. Cir. 2007) (citing Ralph A. Jacobs, White

 Collar Pretrial Motions, 16 Litig., Jan. 1990, at 17, 20). The Indictment will
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assist the jury in its deliberations.

IX.   LAW ENFORCEMENT ATTENDING TRIAL SHOULD BE BARRED FROM
      WEARING UNIFORMS OR OTHER RECOGNIZABLE ITEMS IN THE
      COURTROOM SO AS NOT TO UNDULY INFLUENCE OR INTIMIDATE
      THE JURY.

      The Government anticipates that, in the absence of a rule prohibiting law

enforcement from attending the trial in uniform, many officers will do so due to

the nature of the charges and their serving alongside the Defendant.           This

presence of uniformed police in the courtroom may unduly influence or

intimidate the jury. Thus, the Government requests that the Court issue a rule

that courtroom spectators should not wear a uniform, badge, and/or any other

items that would identify them as law enforcement officers during trial.

      The Supreme Court has acknowledged the effect uniformed officers may

pose to the prospects of a fair trial. Holbrook v. Flynn, 475 U.S. 560, 570–71

(1986)( “We do not minimize the threat that a roomful of uniformed and armed

policemen might pose to ... chances of receiving a fair trial”). The presence of

uniformed officers at a trial involving an officer as either a victim or a defendant

has the potential to intimidate a jury and can even warrant a retrial in some

circumstances. For instance, in Woods v. Dugger, 923 F.2d 1454 (11th Cir.

1991), the Court granted habeas relief and a new trial in a prosecution for

murder of a prison guard where half of the more than 40 spectators wore prison

guard uniforms. The Court explained

      [t]he officers in this case were there for one reason: they hoped to show
      solidarity with the killed correctional officer. In part, it appears that they
      wanted to communicate a message to the jury…. The officers wanted a
      conviction followed by the imposition of the death penalty. The jury could
      not help but receive the message.

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Id. at 1459-60.

      The Court has the power to establish rules regarding courtroom attire and

decorum to protect the integrity of the legal process. See U.S. v. Johnson, 713 F.

Supp 2d 595, 617 (E.D. La. 2010) (trial court noting its own decision to allow en

masse uniformed police presence in courtroom during guilt phase was

“prejudicial” and “inappropriate”); Woods, 923 F.2d 1454 (uniformed correctional

officers intending to show solidarity with a fellow correctional officer at trial

required reversal).

      Here, the presence of uniformed or readily identifiable law enforcement

officers in the gallery of the courtroom may affect the Government’s right to a

fair trial and may unduly influence or intimidate jurors.     Uniformed courtroom

spectators may lend an air of credibility to the Defendant via their association

with him. It is also possible that their presence may dissuade jurors who reside

in Bridgeton from reaching a verdict against the Defendant for fear of retaliation.

Uniformed courtroom spectators could also send the jury a message that a

finding of guilt is “anti-police,” injecting considerations which are not evidence-

based and wholly inappropriate. Even if uniformed spectators do not intend to

intimidate the jury, they could still unintentionally influence the verdict.

      Although police spectators in this case are likely not opposing the

defendant, but rather supporting him, this difference does not require a different

result. See United States v. Ruiz, 579 F.2d 670, 674 (1st Cir. 1978) (in civil

rights trial against police defendants, trial court required three police officers in

attendance to refrain from wearing their uniforms to avoid jury intimidation).
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      The Government does not request that law enforcement officers be barred

from attending trial.   Rather, the Government merely requests that, if law

enforcement officers do attend trial, they refrain from wearing a uniform, badge,

and/or any other items that would identify them as law enforcement officers to

the casual observer.

      Directing police officers not to wear their uniforms or badges will not

impair any legitimate purpose for their attendance and will prevent possible

improper prejudice. If the Court issues such an order, the Government

recommends that it should do so sufficiently in advance of trial to allow Grier

and his attorneys to inform any officers who might be affected by the order of its

existence.

X.    THE DEFENDANT SHOULD BE ORDERED TO PROVIDE RECIPROCAL
      DISCOVERY TO THE GOVERNMENT.

      By letter dated August 10, 2021, the Government sought reciprocal

discovery from the defense.     See Exhibit 2. The right of the Government to

reciprocal discovery from the Defense is firmly established in Rule 16(b)(1)(A) and

(B) of the Federal Rules of Criminal Procedure. The former provision allows the

Government, upon compliance with a legitimate request by a defendant for

similar material, to:

             inspect and copy or photograph books, papers, documents,
             photographs, tangible objects, or copies or portions thereof,
             which are within the possession, custody, or control of the
             defendant and which the defendant intends to introduce as
             evidence in chief at trial.




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Fed. R. Crim. P. 16(b)(1)(A). Subsection (b)(1)(B) mandates reciprocal discovery

of scientific tests and subsection (b)(1)(C) requires disclosure of a summary of

expert witness testimony the defendant seeks to introduce. Under the clear

language of this rule, courts uniformly have allowed reciprocal discovery. See,

e.g., United States v. Bump, 605 F.2d 548, 551-52 (10th Cir. 1979) (requiring

reciprocal disclosure over defendant's objection that it would violate his

constitutional rights); United States v. Sherman, 426 F. Supp. 85, 93 (S.D.N.Y.

1976). In addition, this Court’s Standing Order No. 15-2 required that “[t]he

defendant shall provide all discovery required by Federal Rule of Criminal

Procedure 16(b)(1) on or before June 30, 2022.” DE 20, at ¶ 3.

      Since discovery has been made available to the Defense, the Government

is entitled, pre-trial, to reciprocal discovery under Rule 16(b), and requests the

Court to direct disclosure of any remaining discoverable information. To the

extent the Defendant has any additional discovery in his possession that has not

yet been disclosed to the Government, he should be ordered to provide these

materials as soon as possible.

XI.   THE DEFENDANT SHOULD BE ORDERED TO PROVIDE PRIOR
      STATEMENTS OF DEFENSE WITNESSES TO THE GOVERNMENT ON
      THE JENCKS DISCLOSURE DATE.

      The Government moves pursuant to Rule 26.2 of Federal Rules of Criminal

Procedure for the production of any and all written or recorded statements of

any witness the Defendant intends to call to testify at trial. The Government

seeks disclosure of these statements at the same time it will disclose Jencks and

Giglio materials―that is, prior to jury selection.


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                                CONCLUSION

      For the foregoing reasons, the Court should grant the Government’s

Motions In Limine and Motion for Reciprocal Discovery.



                                          Respectfully Submitted,

                                          PHILIP SELLINGER
                                          United States Attorney




                                          ____________________________________
                                          JASON M. RICHARDSON
                                          LINDSEY R. HARTEIS
                                          Assistant U.S. Attorneys

Dated:   August 19, 2022




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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 19, 2022, I served the foregoing United

States= Motions In Limine and Motion for Reciprocal Discovery via electronic

filing on the following counsel:


                             Stuart J. Alterman, Esq.
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                                           __________________________
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                                           Assistant U.S. Attorney




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